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            EXHIBIT A 

             Case Pictures,
Ahanchian v. Xenon 2:17-cv-00198-DJH
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                                                              [2] writer's delay in filing opposition to defendants'
                                                              summary judgment motion was result of excusable
                    624 F.3d 1253
                                                              neglect, and thus grant of motion to allow late-filed
            United States Court of Appeals,
                                                              opposition was warranted.
                    Ninth Circuit.

             Amir Cyrus AHANCHIAN, an
                                                              Reversed and remanded.
            individual, Plaintiff–Appellant,
                           v.
        XENON PICTURES, INC., a Delaware                      Attorneys and Law Firms
  corporation; CKrush, Inc., a Delaware corporation;
                                                              *1254 Jeffery J. Daar, Daar & Newman, PC, Los
       Sam Maccarone, an individual; Preston
                                                              Angeles, CA, for the plaintiff-appellant, Amir Cyrus
     Lacy, an individual, Defendants–Appellees.
                                                              Ahanchian.
              Amir Cyrus Ahanchian, an
            individual, Plaintiff–Appellant,                  Leonard S. Machtinger, Kenoff & Machtinger, LLP, Los
                           v.                                 Angeles, CA; Richard L. Charnley, Terry Anastassiou
    Xenon Pictures, Inc., a California corporation;           and Ernest E. Price, Ropers, Majeski, Kohn, & Bentley,
      CKrush Inc., a Delaware corporation; Sam                Los Angeles, CA, for the defendants-appellees.
        Maccarone, an individual; Preston Lacy,
                                                              Appeal from the United States District Court for the
         an individual, Defendants–Appellees.                 Central District of California, John F. Walter, District
                                                              Judge, Presiding. D.C. No. 2:07–cv–06295–JFW–E.
              Nos. 08–56667, 08–56906.
                           |                                  Before: ANDREW J. KLEINFELD, KIM McLANE
           Argued and Submitted Feb. 2, 2010.                 WARDLAW and CONSUELO M. CALLAHAN,
                           |                                  Circuit Judges.
                   Filed Nov. 3, 2010.

Synopsis
Background: Writer brought copyright infringement                                     OPINION
action against movie's distributor, production company,
                                                              WARDLAW, Circuit Judge:
director, and screenwriter, alleging defendants used in the
movie several skits he authored without his permission.       Procedure “is a means to an end, not an end in
The United States District Court for the Central District     itself—the ‘handmaid rather than *1255 the mistress'
of California, John F. Walter, J., denied writer's motion     of justice.” Charles E. Clark, History, Systems and
for extension of time to file opposition to defendants'       Functions of Pleading, 11 Va. L.Rev. 517, 542 (1925).
summary judgment motion and motion to accept late-            While district courts enjoy a wide latitude of discretion
filed opposition, and subsequently granted defendants'        in case management, this discretion is circumscribed
motions for summary judgment and attorneys' fees.             by the courts' overriding obligation to construe and
Writer appealed.                                              administer the procedural rules so as “to secure the just,
                                                              speedy, and inexpensive determination of every action and
                                                              proceeding.” Fed.R.Civ.P. 1. These consolidated appeals
Holdings: The Court of Appeals, Wardlaw, Circuit Judge,       arise from a district court's refusal to exercise discretion
held that:                                                    consistent with the dictates of Rule 1.


[1] writer demonstrated good cause for filing late            Amir Cyrus Ahanchian's counsel moved for a one-week
opposition to defendants' summary judgment motion, and        extension of time to file his opposition to defendants'
thus grant of extension of time to file opposition was        summary judgment motion, citing as good cause: (1) the
warranted, and                                                extremely short eight day response deadline (with three
                                                              of those days falling over a federal holiday weekend)



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created by the combination of an unusual local rule           Inc. (distributor), and CKrush, Inc. (producer) asserting
and defendants' litigation tactics; (2) his preplanned        causes of action for copyright infringement, breach of an
absence, beginning the day defendants filed the motions,      implied contract, and unfair competition in violation of
in fulfillment of an out-of-state commitment; and (3)         the Lanham Act. Apparently, Maccarone and Lacy were
the large number of supporting exhibits attached to           difficult to locate. Defense counsel for Xenon Pictures,
defendants' motion. Defense counsel, without regard to        who had been appointed by the district court to represent
the previous professional courtesies extended to him by       Maccarone and Lacy, sought additional time to answer
Ahanchian's counsel, vigorously opposed the extension.        Ahanchian's complaint on their behalf. Exhibiting the
Despite the presence of what most reasonable jurists          professional courtesy expected of officers of the court,
would regard as good cause and the absence of prejudice       Ahanchian's counsel stipulated to an extension of time—
to anyone, the district court denied the motion. Even         which stipulation the district court then rejected.
so, Ahanchian's counsel managed to file the opposition,
albeit three days late, due to a calendaring mistake and      On January 7, 2008, the district court issued its scheduling
computer problems, along with a motion asking that the        order establishing, among other deadlines: November
district court accept the late-filed opposition. Five days    18, 2008, as the date for the commencement of trial;
later, the district court construed that motion as one        September 2, 2008, as the discovery cut-off date; and
for reconsideration under Rule 60(b), and, applying an        September 15, 2008, as the last day for hearing motions.
incorrect legal standard, denied it. That same day, having    Maccarone and Lacy did not file their answer to the
plaintiff's opposition in hand, but refusing to consider      complaint until June 30, 2008. Because of Maccarone
it, the district court granted defendants' motion for         and Lacy's late entrance into the litigation, the parties
summary judgment, failing to provide any legal reasoning      entered into a joint stipulation on July 9, 2008, seeking
or citation to law or facts. 1 To add injury to insult,       to extend by twelve weeks all the deadlines established
the district court awarded defense counsel $247,171.32        by the scheduling order to allow more time for discovery.
in attorneys' fees. We conclude that the district court       The district court again denied the stipulated extension of
abused its discretion in denying both the request for an      time, finding that the parties had failed to demonstrate
extension of time and the motion to accept the late-filed     good cause as to why discovery could not be completed by
opposition, and erred in granting defendants' motion for      September 2, 2008.
summary judgment and in awarding attorneys' fees to
defense counsel.                                              Because the district court's scheduling order set September
                                                              15, 2008, as the last day for hearing motions, the local rules
                                                              in force at the time made August 25, 2008, the last date
                                                              to file any motion for summary judgment. See C.D. Cal.
               I. FACTUAL AND                                 Local R. 6–1 (2008) (requiring that any motion be filed
          PROCEDURAL BACKGROUND                               within twenty-one days before the hearing date). Though
                                                              there is no indication in the record that they did so, the
These appeals arise from the creation of the movie
                                                              defendants assert that they informed Ahanchian's counsel
National Lampoon's TV: The Movie, theatrically released
                                                              on August 6, 2008, that they would be filing a motion
in November 2006. Unlike traditional films, this
                                                              for summary judgment. On August 25, 2008, the last
movie eschews plot or character development, instead
                                                              possible day for filing, the defendants moved for summary
lampooning several high profile television programs in
                                                              judgment seeking dismissal of all of Ahanchian's claims
a series of independent comedic skits. This lawsuit
                                                              and for terminating sanctions resulting from a discovery
involves the disputed authorship of a number of these
                                                              dispute. These motions were accompanied by roughly
skits. Ahanchian claims that ten skits he authored (and
                                                              1,000 pages of supporting exhibits and declarations.
subsequently copyrighted) either appear verbatim in the
                                                              Because the defendants chose to wait until the last day
movie or serve as the basis for skits included in the final
                                                              to file their motions, the local rules operated to set
version of the movie.
                                                              a deadline of September 2, 2008—the day after Labor
                                                              Day—for Ahanchian to review these materials and to
 *1256 Ahanchian filed a complaint on September 17,
                                                              prepare and file his oppositions. Ahanchian, therefore,
2007 against Sam Maccarone (director and writer of the
                                                              was left with a mere eight days, three over the Labor
film), Preston Lacy (writer and actor), Xenon Pictures,


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Day weekend, to draft his oppositions to the motions. See     to prepare for trial.” In point of fact, Ahanchian had
C.D. Cal. Local R. 7–9 (2008) (requiring any opposition       requested extensions of time to file both his opposition
to be filed no later than fourteen days before the hearing    and for the defendants' replies. Had Ahanchian's request
date); Fed.R.Civ.P. 6(a)(1)(C) (extending deadlines by an     been granted, defendants would have had the full time
additional day where a deadline would otherwise fall on       allowed by the local rules to reply. Moreover, the trial was
a holiday). Also, Ahanchian's lead counsel was scheduled      not scheduled to commence for another three months.
to travel out of state on August 25 to fulfil a previously-
scheduled commitment. 2                                       Ahanchian ultimately filed his opposition to the summary
                                                              judgment motion three days late, on September 5, 2008, 3
Given the already unreasonably strained deadlines, within     at which time he also filed an ex parte application seeking
which fell an out-of-state commitment and Labor Day           permission to make the late filing. 4 On September 8, 2008,
weekend, on August 28, 2008, Ahanchian asked defense          defendants responded by reiterating their opposition to
counsel to stipulate to a one-week continuance of             any extension of time, and urging the district court to
the hearing date for defendants' motions, along with          “ignore” the late opposition. They further suggested that
corresponding one-week extensions of the deadlines for        Ahanchian's counsel's representation that he believed the
Ahanchian to file oppositions and for defendants *1257        deadline was September 4 was disingenuous, and that
to reply. Defense counsel refused to so stipulate. The very   Ahanchian had failed to adequately explain the technical
next day, on August 29, 2008, Ahanchian filed an ex           computer problems that had resulted in the one-day delay.
parte application pursuant to Local Rule 7–19 seeking
a one-week extension. Ahanchian recited as good cause         On September 10, 2008, in a three-paragraph order,
for the requested extension of time that: (1) defendants      the district court granted defendants' summary judgment
had waited until the last day to file their motions,          motion in full. It simultaneously denied Ahanchian's
choosing to file four days before the Labor Day weekend,      ex parte motion, concluding, without citing any record
and with knowledge of pending depositions; (2) the            support, that Ahanchian, “apparently *1258 not pleased
accompanying motions and exhibits amounted to 1,000           with the court's ruling,” had simply failed to file timely
pages of materials; (3) Ahanchian's lead counsel had left     oppositions. The court construed Ahanchian's September
the state on August 25 on a prescheduled trip and would       5, 2008, ex parte application as a Federal Rule of Civil
not be returning until September 2; and (4) Ahanchian,        Procedure 60(b) motion for reconsideration of its denial
who was needed to respond to the motion, was also out         of Ahanchian's August 29, 2008, request for a one-
of town over Labor Day weekend. Ahanchian noted that          week extension. The court then denied the motion, citing
“[n]o party will suffer any prejudice” should the court       three authorities: (1) a Fifth Circuit decision concluding
grant the continuance.                                        that the “inadvertent mistake” of counsel was not a
                                                              sufficient ground to excuse missing a filing deadline; (2)
Defendants opposed the motion, arguing that Ahanchian         a Sixth Circuit decision rejecting “calendaring errors”
had failed to demonstrate “good cause.” Specifically,         as justification for reconsideration; and (3), finally, an
they argued that Ahanchian's counsel “knew (or should         inapposite Ninth Circuit decision that suggests a party
have known) that the motions would be filed no later          should sue its lawyer for malpractice rather than bring a
than August 25—and yet, for reasons unexplained, this         Rule 60(b)(1) motion when it comes to regret an action
is precisely the date plaintiff's counsel decided to travel   based on erroneous legal advice.
‘out of state.’ Why? No reason is offered.” In a footnote,
the defendants posed some hypothetical possibilities: “A      Meanwhile, in its summary judgment order, the court
family emergency? A conflicting work-related priority?        correctly observed that Ninth Circuit precedent bars
Or a vacation to Mexico? The point is, it is not              district courts from granting summary judgment simply
explained. Absence [sic ] explanation, good cause cannot      because a party fails to file an opposition or violates a
be discerned.” As for prejudice, defendants made the weak     local rule, and also correctly cited its obligation to analyze
and false arguments that the requested continuance would      the record to determine whether any disputed material
give Ahanchian “several weeks to prepare an Opposition,”      fact was present. It then effectively flouted both legal
and yet defendants would have only one week to file their
                                                              principles, 5 stating that it had reviewed only the defense
reply. They also asserted that they would have “less time



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evidence, even though it knew the opposition papers
were already filed, having ruled upon the accompanying              (B) on motion made after the time has expired if the
motion for a late filing. Unsurprisingly, based on only             party failed to act because of excusable neglect.
defendants' version of the facts, the court concluded that
                                                               Fed.R.Civ.P. 6(b)(1). This rule, like all the Federal Rules
defendants were not liable on any claim and granted
                                                               of Civil Procedure, “[is] to *1259 be liberally construed
judgment in their favor.
                                                               to effectuate the general purpose of seeing that cases
                                                               are tried on the merits.” Rodgers v. Watt, 722 F.2d 456,
Ahanchian timely appeals the district court's procedural
                                                               459 (9th Cir.1983) (quoting Staren v. American Nat'l
rulings, the grant of summary judgment, and the award of
                                                               Bank & Trust Co. of Chicago, 529 F.2d 1257, 1263 (7th
attorneys' fees.
                                                               Cir.1976)); see also Fed.R.Civ.P. 1 (“[The Federal Rules]
                                                               should be construed and administered to secure the just,
                                                               speedy, and inexpensive determination of every action
              II. STANDARD OF REVIEW                           and proceeding.”). Consequently, requests for extensions
                                                               of time made before the applicable deadline has passed
 [1]   [2] The district court's denial of an extension of should “normally ... be granted in the absence of bad
time pursuant to Federal Rule of Civil Procedure 6(b) is       faith on the part of the party seeking relief or prejudice
reviewed for abuse of discretion, see Kyle v. Campbell Soup    to the adverse party.” 4B Charles Alan Wright & Arthur
Co., 28 F.3d 928, 930 (9th Cir.1994), as is a court's denial   R. Miller, Federal Practice and Procedure § 1165 (3d ed.
of a Rule 60(b) motion, see United States v. Asarco Inc.,      2004).
430 F.3d 972, 978 (9th Cir.2005). Accordingly, we reverse
where the district court applied the incorrect legal rule or    [5]    The circumstances of Ahanchian's predicament
where the district court's application of the law to the facts clearly demonstrate the “good cause” required by
was: (1) illogical; (2) implausible; or (3) without support    Rule 6(b)(1). “Good cause” is a non-rigorous standard
in inferences that may be drawn from the record. United        that has been construed broadly across procedural
States v. Hinkson, 585 F.3d 1247, 1262 (9th Cir.2009) (en      and statutory contexts. See, e.g., Venegas–Hernandez
banc).                                                         v. Sonolux Records, 370 F.3d 183, 187 (1st Cir.2004);
                                                               Thomas v. Brennan, 961 F.2d 612, 619 (7th Cir.1992);
                                                               Lolatchy v. Arthur Murray, Inc., 816 F.2d 951, 954
                   III. DISCUSSION                             (4th Cir.1987). To begin with, Ahanchian faced an
                                                               exceptionally constrained deadline resulting from the
Ahanchian argues that the district court abused its            peculiar dictates of the local rules for the Central District
discretion first in denying his request for a one-week    of California. 6 Compounding the problem, this deadline
extension of time to file his opposition to defendants'   followed immediately upon Labor Day weekend—during
summary judgment motion and then in denying his           which even the federal courts are closed. By taking
application to file that opposition late. We agree.       advantage of the unusual local rules, defendants cut
                                                          Ahanchian's time to respond to two dispositive motions
                                                          to five business days and three days over the holiday
                            A.                            weekend. See Fed.R.Civ.P. 6(a)(1)(C). As was certainly
                                                          neither unreasonable nor unexpected, both Ahanchian
[3] [4] Federal Rule of Civil Procedure 6(b)(1) provides: and his attorney were out of town over Labor Day
                                                          weekend, and, moreover, as he informed the district court,
  (1) In General. When an act may or must be done within
                                                          Ahanchian's lead counsel was out-of-state in fulfillment
  a specified time, the court may, for good cause, extend
                                                          of a previously-scheduled commitment from the day
  the time:
                                                          defendants chose to file their motions through the day the
    (A) with or without motion or notice if the court acts,    responses were due. 7
    or if a request is made, before the original time or its
    extension expires; or                                       *1260 Critically, the record is devoid of any indication
                                                               either that Ahanchian's counsel acted in bad faith or



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that an extension of time would prejudice defendants. To       applying an incorrect legal standard for deciding Rule
the contrary, the record reflects that Ahanchian's counsel     60(b) motions. 8
acted conscientiously throughout the litigation, promptly
seeking extensions of time when necessary and stipulating       *1261 [8] To determine whether a party's failure to
to defendants' earlier request for an extension of time to     meet a deadline constitutes “excusable neglect,” courts
file their answer and to the twelve-week extension due to      must apply a four-factor equitable test, examining: (1) the
two defendants' late appearances. Moreover, defendants'        danger of prejudice to the opposing party; (2) the length
argument that they would be prejudiced by only having          of the delay and its potential impact on the proceedings;
a week to reply while Ahanchian would have had several         (3) the reason for the delay; and (4) whether the movant
weeks to draft an opposition is unpersuasive and neglects      acted in good faith. Pioneer Inv. Servs. Co. v. Brunswick
the fact that in the overwhelming majority of districts,       Assocs. Ltd. P'ship, 507 U.S. 380, 395, 113 S.Ct. 1489,
more time is given for drafting oppositions than for           123 L.Ed.2d 74 (1993); Briones v. Riviera Hotel & Casino,
drafting replies. See, e.g., N.D. Cal. Local R. 7–3(a),        116 F.3d 379, 381 (9th Cir.1997) (adopting this test for
(c); S.D. Cal. Local R. 7.1(e)(1), (2). Had the district       consideration of Rule 60(b) motions). Through other
court had any doubts about the veracity or good faith of       decisions, including Bateman v. U.S. Postal Serv., 231 F.3d
Ahanchian's counsel, or been worried about prospective         1220 (9th Cir.2000), and Pincay v. Andrews, 389 F.3d 853
prejudice, it could have held an evidentiary hearing or        (9th Cir.2004) (en banc), we have further clarified how
sought more information; instead, without support in the       courts should apply this test.
record, it summarily denied Ahanchian's request.
                                                              In Bateman, we concluded that when considering a
The record shows that Ahanchian's requested relief            Rule 60(b) motion a district court abuses its discretion
was reasonable, justified, and would not result in            by failing to engage in the four-factor Pioneer/Briones
prejudice to any party. The district court nevertheless       equitable balancing test. Bateman, 231 F.3d at 1223–
denied Ahanchian's motion, thus effectively dooming           24. Bateman's counsel had left the country before filing
Ahanchian's case on the impermissible ground that he          an opposition to the Postal Service's summary judgment
had violated a local rule. Because Ahanchian clearly          motion, allowed the deadline to pass while abroad, failed
demonstrated the “good cause” required by Rule 6, and         to file any motions for extensions of time, and failed to
because there was no reason to believe that Ahanchian         contact the district court for sixteen days after he returned
was acting in bad faith or was misrepresenting his reasons    because of “jet lag and the time it took to sort through
for asking for the extension, the district court abused its   the mail.” Id. at 1223. Because the district court had
discretion in denying Ahanchian's timely motion.              already awarded summary judgment to the Postal Service,
                                                              Bateman moved to set aside the judgment pursuant to
                                                              Rule 60(b). Id. The district court, without mentioning the
                              B.                              Pioneer/Briones test, denied the motion after considering
                                                              only facts relating to the reason for Bateman's delay—the
 [6]   [7] We next turn to the district court's denial of third Pioneer/Briones factor. Id. at 1224. We concluded
Ahanchian's September 5, 2008, ex parte application           that the district court had failed to engage in the equitable
to allow his late-filed opposition, which the court           analysis mandated by Pioneer and Briones, and, by
construed as a Rule 60(b) motion for reconsideration          ignoring three of the four Pioneer/ Briones factors, had
of its denial of Ahanchian's Rule 6 motion for an             abused its discretion in denying Bateman's Rule 60(b)
extension. Rule 60(b) provides that a court “may              motion. Id.; see also Lemoge v. United States, 587 F.3d
relieve a party or its legal representative from a            1188, 1192 (9th Cir.2009) (“We conclude that the district
final judgment, order, or proceeding” on the basis of         court did not identify the Pioneer–Briones standard or
“mistake, inadvertence, surprise, or excusable neglect.”      correctly conduct the Pioneer–Briones analysis and that
Fed.R.Civ.P. 60(b). The court denied Ahanchian's              this was an abuse of discretion.”).
application after concluding that Ahanchian had not
demonstrated “excusable neglect.” In so doing, however,       In Pincay, we held that courts engaged in balancing
the district court failed to cite the correct legal standard, the Pioneer/ Briones factors may not apply per se rules.
                                                              Pincay, 389 F.3d at 855 (“We now hold that per se



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rules are not consistent with Pioneer.”). Defendants, who        we do not consider prejudicial. Cf. Bateman, 231 F.3d
had filed their notice of appeal twenty-four days late,          at 1225 (finding insufficient prejudice where defendants
asserted that their tardy filing resulted from a calendaring     “would have lost a quick victory and, should it ultimately
mistake caused by attorneys and paralegals misapplying           have lost the summary judgment motion ... would have
a clear legal rule. See id. Applying the same four-factor        to reschedule the trial date”). Second, the length of the
balancing test as required under Federal Rule of Civil           delay was a mere three days; filing the opposition then
Procedure 60(b), the district court found that defendants'       would not have adversely affected either the summary
neglect was excusable under Federal Rule of Appellate            judgment hearing date, which was ten days away, or the
Procedure 4(a)(5). See id. Sitting en banc, we rejected the      trial, which was two and a half months away. Compare
plaintiffs' contention that the district court had abused its    id. (finding a delay of over a month “not long enough to
discretion in ruling for defendants. We concluded that,          justify denying relief”). Third, while a calendaring mistake
while the calendaring mistake was not a “compelling              caused by the failure to apply a clear local rule may
excuse,” because of the “nature of the contextual analysis       be a weak justification for an attorney's delay, we have
and the balancing of the factors adopted in Pioneer,”            previously found the identical mistake to be excusable
courts applying the Pioneer/Briones test cannot create or        neglect. See, e.g., Pincay, 389 F.3d at 860. In fact, in
apply any “rigid legal rule against late filings attributable    Bateman, the attorney's reasons for his nearly month-long
to any particular type of negligence.” Id. at 860.               delay, the need to recover from jet lag and to review
                                                                 mail, were far less persuasive. Yet, we concluded that
The district court's failure to apply Ninth Circuit              excusable neglect was established. Bateman, 231 F.3d at
precedent, particularly the rules set forth in Bateman and       1225. Fourth, there is no indication that Ahanchian's
Pincay, to Ahanchian's Rule 60(b) motion was error.              failure to file the opposition on time was the result of
Just like the district court in Bateman, the district court      bad faith. Ahanchian's counsel displayed his (mistaken)
here neither cited nor applied the Pioneer/Briones test,         belief that the oppositions were due on September 4, 2008,
but instead based its decision solely on whether the             in his initial request for an extension of time. Thus, his
reason for the delay—the third Pioneer/Briones factor            reliance on the calendaring mistake was not a bad-faith,
—could establish excusable neglect. By ignoring the              post-hoc rationalization concocted to secure additional
other three factors, the district court abused its *1262         time. Ahanchian's counsel had no history of missing
discretion. See Bateman, 231 F.3d at 1224. The district          deadlines or disobeying the district court's orders; in fact,
court then compounded its legal error by concluding              he demonstrated a sensitivity to the court's orders and
that “a calendaring mistake is the type of ‘inadvertent          deadlines by promptly seeking extensions of time where
mistake’ that is not entitled to relief pursuant to Rule 60(b)   necessary. We have found good faith in situations where
(1),” impermissibly adopting a per se rule in applying the       attorneys acted far less diligently and conscientiously. See
Pioneer/Briones balancing test. See Pincay, 389 F.3d at          id. (“[Counsel] showed a lack of regard for his client's
859–60.                                                          interests and the court's docket. But there is no evidence
                                                                 that he acted with anything less than good faith.”).
 [9]    The district court's errors are particularly
troublesome because our application of the correct               By failing to apply the Pioneer/Briones equitable balancing
equitable analysis convinces us that Ahanchian's delay           test and instead adopting an impermissible per se rule,
was the result of excusable neglect. See Bateman, 231 F.3d       the district court abused its discretion. See Lemoge, 587
at 1224 & n. 3. We start by recognizing that “Rule 60(b)         F.3d at 1193 (citing Hinkson, 585 F.3d at 1261). Applying
is ‘remedial in nature and ... must be liberally applied.’ ”     the correct legal standard, we conclude that Ahanchian's
TCI Group Life Ins. v. Knoebber, 244 F.3d 691, 696 (9th          counsel sufficiently established that his failure to timely
Cir.2001) (quoting Falk v. Allen, 739 F.2d 461, 463 (9th         file the opposition to summary judgment was the result of
Cir.1984)). With this standard in mind, we conclude that         excusable neglect, and that the motion to allow the late
all four Pioneer/ Briones factors favor Ahanchian. First,        opposition should have been granted.
the defendants would not have been prejudiced by a week's
delay in the filing of the opposition and a concomitant
week extension to file a reply. At most, they would have
                                                                                              C.
won a quick but unmerited victory, the loss of which



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Perhaps contributing to the district court's errors
                                                                  Our adversarial system relies on attorneys to treat each
and certainly compounding the harshness of its
                                                                  other with a high degree of civility and respect. See
rulings, defense counsel *1263 disavowed any nod to
                                                                  Bateman, 231 F.3d at 1223 n. 2 (“[A]t the risk of
professional courtesy, instead engaging in hardball tactics
                                                                  sounding naive or nostalgic, we lament the decline of
designed to avoid resolution of the merits of this case.
                                                                  collegiality and fair-dealing in the legal profession today,
We feel compelled to address defense counsel's unrelenting
                                                                  and believe courts should do what they can to emphasize
opposition to Ahanchian's counsel's reasonable requests.
                                                                  these values.”); Peterson v. BMI Refractories, 124 F.3d
Our adversarial system depends on the principle that all
                                                                  1386, 1396 (11th Cir.1997) (“There is no better guide to
sides to a dispute must be given the opportunity to fully
                                                                  professional courtesy than the golden rule: you should
advocate their views of the issues presented in a case.
                                                                  treat opposing counsel the way you yourself would like
See Indep. Towers of Wash. v. Washington, 350 F.3d 925,
                                                                  to be treated.”). Where, as here, there is no indication
929 (9th Cir.2003); Iva Ikuko Toguri D'Aquino v. United
                                                                  of bad faith, prejudice, or undue delay, attorneys should
States, 192 F.2d 338, 367 (9th Cir.1951). Here, defense
                                                                  not oppose reasonable requests for extensions of time
counsel took knowing advantage of the constrained time
                                                                  brought by their adversaries. See Cal. Attorney Guidelines
to respond created by the local rules, the three-day federal
                                                                  of Civility & Prof. § 6.
holiday, and Ahanchian's lead counsel's prescheduled out-
of-state obligation. Defense counsel steadfastly refused to
stipulate to an extension of time, and when Ahanchian's
counsel sought relief from the court, defense counsel filed                             CONCLUSION
fierce oppositions, even accusing Ahanchian's counsel of
unethical conduct. Such uncompromising behavior is not            The district court abused its discretion in denying
only inconsistent with general principles of professional         Ahanchian's request for a one-week extension to file his
conduct, but also undermines the truth-seeking function           opposition and erred in denying Ahanchian's motion to
of our adversarial system. See Cal. Attorney Guidelines           allow a three-day late-filed opposition it construed as
of Civility & Professionalism § 1 (“The dignity, decorum          a Rule 60(b) motion. 9 Accordingly, we REVERSE the
and courtesy that have traditionally characterized the            district court's grant of summary judgment, vacate the
courts and legal profession of civilized nations are not          district court's award of attorneys' fees, and REMAND
empty formalities. They are essential to an atmosphere            this case for further proceedings.
that promotes justice and to an attorney's responsibility
for the fair and impartial administration of justice.”);
see also Marcangelo v. Boardwalk Regency, 47 F.3d 88,             All Citations
90 (3d Cir.1995) (“We do not approve of the ‘hardball’
                                                                  624 F.3d 1253, 2010 Copr.L.Dec. P 29,994, 77
tactics unfortunately used by some law firms today. The
                                                                  Fed.R.Serv.3d 1253, 10 Cal. Daily Op. Serv. 13,936
extension of normal courtesies and exercise of civility
expedite litigation and are of substantial benefit to the
administration of justice.”).


Footnotes
1      Ahanchian does not argue that we should reverse the district court for its failure to provide any reasoning in its
       order granting summary judgment. However, we have held this alone is reversible error, because it precludes us from
       conducting a meaningful review of the district court's order. See Gov't Employees Ins. Co. v. Dizol, 133 F.3d 1220, 1225
       (9th Cir.1998) (en banc) (noting that remand is appropriate where the district court fails to “make a sufficient record of
       its reasoning to enable appellate review”). Nonetheless, we have reviewed the district court record in its entirety and
       reverse in part and affirm in part the award of summary judgment in the memorandum disposition filed concurrently with
       this opinion. We also vacate the award of attorneys' fees.
2      On appeal, Ahanchian's counsel revealed that his trip was required because he was serving as a duly-elected California
       state delegate to a major political party's national convention. See Cal. Elec.Code § 6201.
3      Ahanchian's opposition to the Motion for Terminating Sanctions was filed two days earlier, on September 3.




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                            Inc., 624 F.3d 1253Document
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4      In this application, Ahanchian's counsel explained that his office had made a calendaring error, and thus he erroneously
       believed that the oppositions were not due until September 4, 2008. The truth of this statement is supported by counsel's
       earlier application seeking an extension of the deadlines, which represented that “Plaintiff's opposition papers are
       currently due on September 4, 2008.” Neither defense counsel nor the court chose to alert counsel that he had misstated
       the deadline, adding two days. Counsel also explained he attempted to meet that erroneously-calculated deadline but
       “due to technical computer circumstances beyond control,” he could not file until September 5.
5      For example, even without considering the late-filed opposition papers, the record then before the district court included
       the certificates of copyright registration, which are prima facie evidence of ownership and which should have precluded
       an award of summary judgment on Ahanchian's copyright claims.
6      Like the rules in several districts in this circuit, the Central District Local Rules establish deadlines for filing motions and
       oppositions by counting backwards from an established hearing date. In 2008, Central District of California Local Rule 6–
       1 provided that any motion had to be filed “not later than twenty-one (21) days before the date set for hearing.” C.D. Cal.
       Local R. 6–1 (2008). Similarly, Central District Local Rule 7–9 governed the filing of oppositions and provided that any
       opposition had to be filed “not later than fourteen (14) days before the date designated for the hearing of the motion.” C.D.
       Cal. Local R. 7–9 (2008). As a result, where the movant chose to file a motion twenty-one days before the hearing—the
       last day allowed by local rules—the nonmovant has a mere seven days to file an opposition. This abbreviated timeline is
       unusual; every other district in this circuit guarantees nonmovants at least fourteen days to file an opposition to a motion.
       See D. Ariz. Local R. 56.1(d); D. Alaska Local R. 7.1(e); E.D. Cal. Local R. 78–230(b); N.D. Cal. Local R. 7–2(a), 7–
       3(a); S.D. Cal. Local R. 7.1(e)(1), (2); D. Guam Local R. 7.1(d); D. Hawaii Local R. 7.2(a), 7.4; D. Idaho Local R. 7.1(c);
       D. Mont. Local R. 7.1(d)(1)(B); D. Nevada Local R. 7.2(b); D.N. Mariana Islands Local R. 7.1(c)(2); D. Oregon Local R.
       7.1(f); E.D. Wash. Local R. 7.1(c); W.D. Wash. Local R. 7(d)(3).
7      Even without the revelation that Ahanchian's lead counsel's absence was due to his position as an elected delegate to
       a major political party's national convention, his lack of availability due to a previously planned trip is a reasonable basis
       for seeking an extension of time. As Supreme Court Justice David Brewer once recognized, attorneys have an obligation
       as professionals to assume positions of important social responsibility. See David J. Brewer, The Ideal Lawyer, Atlantic
       Monthly, November 1906, at 587, 598 (“[T]he true lawyer never forgets the obligations which he as a lawyer owes to the
       republic, ... he always remembers that he is a citizen.”). Moreover, attorneys, like everyone else, have critical personal
       and familial obligations that are particularly acute during holidays. It is important to the health of the legal profession that
       attorneys strike a balance between these competing demands on their time. See Patrick J. Schiltz, On Being a Happy,
       Healthy, and Ethical Member of an Unhappy, Unhealthy, and Unethical Profession, 52 Vand. L.Rev. 871, 889–90 (1999).
8      Defendants assert that Ahanchian waived this argument because he did not state in his application that he was relying on
       the “excusable neglect” standard or cite Rule 60(b). Defendants are correct that a party will be deemed to have waived
       any issue or argument not raised before the district court. Ritchie v. United States, 451 F.3d 1019, 1026 n. 12 (9th
       Cir.2006). However, this general rule “does not apply where the district court nevertheless addressed the merits of the
       issue” not explicitly raised by the party. Blackmon–Malloy v. U.S. Capitol Police Bd., 575 F.3d 699, 707 (D.C.Cir.2009);
       see also Citizens United v. F.E.C., 558 U.S. 310, 130 S.Ct. 876, 888, 175 L.Ed.2d 753 (2010). Here, despite Ahanchian's
       understandable failure to explicitly reference the excusable neglect standard in what he thought was a motion for late
       filing, and not a Rule 60(b) motion, the district court chose to construe his application as one brought pursuant to Rule
       60 and purported to apply the excusable neglect standard. Ahanchian did not waive his argument that the district court
       abused its discretion in its application of Rule 60.
9      The district court also stated in a footnote that the denial was, in the alternative, based on a lack of good cause. This
       conclusion was also an abuse of discretion, as the above discussion demonstrates.


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